                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 ANTHONY CHARLES MURPHY,                              MEMORANDUM DECISION AND
                                                      ORDER GRANTING IN PART AND
        Plaintiff,                                    DENYING IN PART DEFENDANTS’
                                                      MOTION FOR SUMMARY JUDGMENT
 v.

 STG. D. ROBERTS; LT. TRAVIS GIVENS,                  Case No. 2:19-cv-00852-JNP

        Defendant.
                                                      District Judge Jill N. Parrish



        Before the court is a motion for summary judgment filed by the remaining defendants in

this case, Daniel Roberts and Travis Givens (collectively, “Defendants”). ECF No. 64 (“Defs.’

Mot.”). Plaintiff Anthony Charles Murphy (“Plaintiff” or “Murphy”) filed this action alleging

Defendants violated his constitutional rights under 42 U.S.C. § 1983. For the reasons set forth

herein, Defendants’ motion is GRANTED IN PART and DENIED IN PART.

                                           BACKGROUND

        On a motion for summary judgment, the court must “view the evidence and make all

reasonable inferences in the light most favorable to the nonmoving party.” N. Nat. Gas Co. v. Nash

Oil & Gas, Inc., 526 F.3d 626, 629 (10th Cir. 2008). Thus, in recounting the background of the

case at this stage, the court will resolve all factual disputes in favor of Plaintiff.

        This action stems from Plaintiff’s incarceration in the Duchesne County Jail (“the Jail”).

Plaintiff was transferred there on March 15, 2019. He was housed in F-Block, a 12-cell dormitory.

Plaintiff alleges two incidents occurred in which the Jail staff violated his constitutional rights. He
maintains that these incidents led to the only disciplinary write-ups he has ever received while

incarcerated.

        The first incident occurred on July 17, 2019. Defendant Roberts called the inmates in F-

Block to gather in the common room area. Plaintiff complied with the request. Roberts notified the

inmates of the Jail’s policy against storing food in their cells. At the end of Roberts’ speech, another

inmate, Clark, said “Is that why you called us to the tables?” ECF No. 71-1 (“Murphy Decl.”) ¶ 9.

Roberts responded, “I’m not going to put up with any smartass comments. I can call you to the

tables any damn time I want!” Id. ¶ 12. Plaintiff then told Roberts, “Mr. Roberts, you don’t have

to come in here and speak to us like that.” Id. ¶ 15. When Roberts began to interrupt Plaintiff,

Plaintiff said, “Sir, you need to check yourself.” Id. Roberts then ordered all the inmates to return

to their cells. ECF No. 30-1 (“Roberts Decl.”) ¶ 12. During the incident, Roberts was the only

corrections officer present in F-Block. Id. ¶ 11.

        Following the incident, Roberts charged Plaintiff and Clark with disorderly conduct and

reckless endangerment. Id. ¶ 14. Plaintiff was subsequently moved to H-Block. While in H-Block,

Roberts came to see Plaintiff saying, “You said some things, I said some things. This is a non-

disciplinary cool down.” Murphy Decl. ¶ 21. Thus, Plaintiff did not grieve the incident.

        During the three days Plaintiff was living in H-Block, Jail staff searched F-Block and

confiscated two DVD players belonging to Plaintiff’s cellmate, Melvin Whipple. Witnesses

reported that Whipple blamed Plaintiff and was threatening to harm him since the F-Block search.

ECF No. 31, Exhibit H (“Arias Supplemental Incident Report”), at 3. After three days in H-Block,

Roberts asked Plaintiff if he had any problem moving back to F-Block. At this point, Plaintiff did

not know about the search or the tension in F-Block. Plaintiff said he did not have any problems

and was moved back to F-Block that day into a cell next to Whipple. Roberts then served Whipple
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a major disciplinary write-up for having contraband, in front of Plaintiff’s cell. Whipple became

upset, expressing that he didn’t deserve the disciplinary action.

       A few days later, on July 25, 2019, Plaintiff was walking past a table where Whipple was

sitting. Although Plaintiff had tried to avoid Whipple the past few days, he had to walk past

Whipple to get back to his cell. When Plaintiff walked by Whipple, Whipple said something to

Plaintiff that sounded like, “You piece of shit!” Id. ¶ 37. Plaintiff stopped to ask Whipple what he

said. Then Whipple said to Plaintiff, “I’m going to kill you.” Id. Plaintiff took this as a threat on

his life and punched Whipple. Plaintiff maintains that the punch was in self-defense as not

responding to a threat in that environment would have made him a bigger target.

       Following the incident, Plaintiff was investigated and eventually charged with a major

disciplinary action for violating Jail policy that prohibits fighting. Deputy Megan Arias

investigated the incident, but Roberts conducted Plaintiff’s disciplinary hearing. Plaintiff asked to

call Dr. Hancock and Utah Attorney General Sean Reyes to testify on his behalf at the hearing.

Roberts denied both requests, reasoning that

               (a) neither of these witnesses had any relevant testimony to offer
               since they had no knowledge of the circumstances of the fight
               between Murphy and inmate Whipple; (b) I had no way to compel
               their attendance at the hearing; (c) Murphy’s claim that he acted in
               self-defense was not relevant to the charge of having engaged in a
               fight with inmate Whipple since it was a mutual combat situation;
               and (d) the videotape clearly showed that Murphy had been the
               aggressor insofar as he had attacked inmate Whipple.

Roberts Decl. ¶ 39. Roberts then found Plaintiff guilty of the offense charged. Murphy received a

$200 fine and 20-days of isolation in H-Block. Plaintiff appealed Roberts’ decision. The appeal

was denied by Defendant Lieutenant Travis Givens on August 14, 2019. ECF No. 30-2 (“Travis

Decl.”) ¶ 8. Givens also declined to refer the appeal to an administrative law judge for further


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review, reasoning that Plaintiff received due process, Roberts’ findings were based on “some

evidence,” and the sanctions imposed were neither “unconstitutionally harsh nor unreasonably

light.” Id. ¶ 11.

        Based on the facts surrounding the July 17 and July 25 incidents, Plaintiff claims that

Defendants violated (1) the First Amendment by retaliating against him for protected speech, (2)

the Eighth Amendment by failing to protect him, and (3) the Due Process Clause by failing to

provide him with an impartial decisionmaker in his hearing. Plaintiff also alleges Defendants

violated the Equal Protection Clause and Confrontation Clause, but do not specifically explain

how. Defendants move for summary judgment on Plaintiff’s constitutional claims, arguing that

there is no dispute of fact that Defendants did not violate Plaintiff’s constitutional rights.

Defendants also allege affirmative defenses of exhaustion and quasi-judicial immunity.

                                       LEGAL STANDARD

        Under Rule 56(a) of the Federal Rules of Civil Procedure, “[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a). The movant bears the

initial burden of demonstrating the absence of a genuine dispute of material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 322–23 (1986). “A fact is material only if it might affect the outcome of the

suit under the governing law. And a dispute over a material fact is genuine only if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.” Foster v. Mountain

Coal Co., 830 F.3d 1178, 1186 (10th Cir. 2016) (internal quotation marks omitted).

        Once the movant has met this burden, the burden then shifts to the nonmoving party to “set

forth specific facts showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). When applying the summary-judgment standard, the court must “view
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the evidence and make all reasonable inferences in the light most favorable to the nonmoving

party.” N. Nat. Gas Co. v. Nash Oil & Gas, Inc., 526 F.3d 626, 629 (10th Cir. 2008). The court

must grant summary judgment on a claim if the party bearing the burden of proof at trial “fails to

make a showing sufficient to establish the existence of an element essential to that party’s case.”

Celotex, 477 U.S. at 322.

                                            ANALYSIS

       The court first addresses Defendants’ affirmative defenses of exhaustion and quasi-judicial

immunity. Concluding Plaintiff’s action is not barred by either affirmative defense, the court then

considers Plaintiff’s substantive claims.

I.     AFFIRMATIVE DEFENSES

       Defendants offer two affirmative defenses to Plaintiff’s lawsuit. First, they argue that

Plaintiff’s action is barred because he failed to exhaust his administrative remedies as required by

the Prison Litigation Reform Act. See 42 U.S.C. § 1997e(a). Second, Defendants contend that they

are entitled to quasi-judicial immunity. The court addresses each affirmative defense below.

       A.      Administrative Exhaustion

       Defendants first argue that Plaintiff failed to exhaust his administrative remedies as

required by the Prison Litigation Reform Act. See 42 U.S.C. § 1997e(a) (providing that a plaintiff

seeking relief under 42 U.S.C. § 1983 or any other federal law may not bring an action “until such

administrative remedies as are available are exhausted.”). Failure to exhaust is an affirmative

defense that Defendants must allege and prove. See Jones v. Bock, 549 U.S. 199, 204 (2007). And

the rules of exhaustion are defined not by the Prison Litigation Reform Act, but by the prison

grievance process itself. See id. at 218. Thus, Defendants must first show grievance procedures are

available under their policy before arguing that Plaintiff failed to exhaust them.
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       Defendants argue that Plaintiff failed to exhaust his administrative remedies by not

appealing or grieving Givens’ decision to not refer Plaintiff’s appeal to an administrative law judge

(“ALJ”). But Defendants fail to identify a policy that allows an inmate to appeal an ALJ referral

denial. Rather, Defendants broadly assert that “Givens’ decision to not refer an inmate’s appeal

from a disciplinary sanction imposed upon them to an Administrative Law Judge was still

reviewable by the Sheriff under the Jail’s Grievance Policy.” Defs.’ Mot. at 17 (citing ECF No.

30-2 (“Givens Decl.”) ¶ 12; ECF No. 31, Exhibit Q (“Grievance Policy”)). Notably, Defendants

do not point to any specific section of the Grievance Policy; they only cite the exhibit.

       The Jail’s Grievance Policy states, “The Jail Commander/designee is the final level of

appeal.” Grievance Policy 5.01.07(C)(3). Defendants’ Appeal Policy also provides, “Appeals shall

be forwarded to the Jail Commander/designee. This step will be the last stage in the Appeal

Process.” ECF No. 31, Exhibit Q (“Appeal Policy”). Givens was the Jail Commander during

Plaintiff’s disciplinary process. Givens Decl. ¶ 3. Plaintiff appealed Roberts’ disciplinary decision

to Givens. Id. ¶ 5. Under Defendants’ policies, Plaintiff’s appeal to Givens would be the last step

in the appeal process. And Defendants provide no further argument to the contrary. Therefore,

Defendants have not carried their burden of showing that Plaintiff failed to exhaust all available

administrative remedies.

       B.      Quasi-Judicial Immunity

       Next, Defendants argue they are entitled quasi-judicial immunity for their actions that are

“functionally equivalent to those of judges.” Defs.’ Mot. at 30. Defendants contend that “Roberts’

duties as an Inmate Disciplinary Hearing Officer were quasi-judicial in nature insofar as he

adjudicated major disciplinary charges that had been brought or filed against Jail inmates.” Id.

Defendants also argue that Travis is entitled to immunity for his duties as Jail Commander. Id.
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        “The Supreme Court has long recognized that officials in administrative hearings can claim

the absolute immunity that flows to judicial officers if they are acting in a quasi-judicial fashion.”

Guttman v. G.T.S. Khalsa, 446 F.3d 1027, 1033 (10th Cir. 2006). But entitlement to immunity

requires a showing of three elements: (1) “the officials’ functions must be similar to those involved

in the judicial process,” (2) “the officials’ actions must be likely to result in damages lawsuits by

disappointed parties,” and (3) “there must exist sufficient safeguards in the regulatory framework

to control unconstitutional conduct.” Id.

        In Cleavinger v. Saxner, the Supreme Court denied quasi-judicial immunity to a prison

discipline committee because the committee members were not professional hearing officers like

administrative law judges. 474 U.S. 193, 203-204 (1985). Rather, they were primarily “prison

officials . . . temporarily diverted from their usual duties.” Id. at 204. Thus, the Court held that the

prison’s administrative disciplinary process did not have sufficient safeguards required for

immunity. The Court noted that the prison officials serving in a disciplinary hearing capacity were

still

               employees of the Bureau of Prisons and they are the direct
               subordinates of the warden who reviews their decision. They work
               with the fellow employee who lodges the charge against the inmate
               upon whom they sit in judgment. The credibility determination they
               make often is one between a co-worker and an inmate. They thus are
               under obvious pressure to resolve a disciplinary dispute in favor of
               the institution and their fellow employee. It is the old situational
               problem of the relationship between the keeper and the kept, a
               relationship that hardly is conducive to a truly adjudicatory
               performance.

Id. The court finds Defendants exhibit the same qualities as the members of the disciplinary

committee in Cleavinger. Although Roberts was trained as an Inmate Disciplinary Hearing

Officer, he is not trained in the law. His role as an Inmate Disciplinary Hearing Officer is a


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collateral responsibility, not his primary job. And, more importantly, he was personally involved

in the incidents that gave rise to the charges against Plaintiff. Therefore, Defendants’

administrative hearing process does not have the same safeguards as those adjudicatory processes

that give rise to quasi-judicial immunity. Plaintiff’s disciplinary hearing was not conducted by a

“neutral and detached hearing body.” Id. (declining to equate the prison discipline committee to a

traditional parole board). Therefore, Defendants are not entitled to quasi-judicial immunity.

        Concluding that Defendants have not carried their burden of showing Plaintiff failed to

exhaust his administrative remedies or that they are entitled to quasi-judicial immunity, the court

turns to the merits of Plaintiff’s claims.

II.     PLAINTIFF’S CONSTITUTIONAL CLAIMS

        Plaintiff alleges Defendants violated (1) the First Amendment by retaliating against him

for constitutionally protected speech, (2) the Eighth Amendment by failing to protect him, (3) the

Due Process Clause by placing him in solitary confinement and failing to provide him with an

impartial decisionmaker, (4) the Equal Protection Clause, and (5) the Confrontation Clause by

rejecting Plaintiff’s request for witnesses at his disciplinary hearing. Defendants move for

summary judgment on the two incidents that occurred on July 17 and July 25, arguing that there

is no dispute of fact Defendants did not violate Plaintiff’s constitutional rights on either occasion.

The court addresses each claim but will analyze the claims as they relate to the facts of each

incident where necessary.

        In his response to Defendants’ motion, Plaintiff noted that he is no longer pursuing his

equal protection claim. ECF No. 71 (“Pl.’s Opp.”) at 29. And, as Defendants argue, there is no

evidence in the record from which a reasonable juror could conclude Plaintiff was treated

differently from others similarly situated. See SECSYS, LLC v. Vigil, 666 F.3d 678, 688 (10th Cir.
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2012) (holding that a plaintiff raising a class of one claim must “show he or she (as opposed to a

class in which he is a member) was intentionally treated differently from others similarly situated”

(internal quotation marks omitted)). Therefore, the court GRANTS Defendants’ motion for

summary judgment on Plaintiff’s claim under the Equal Protection Clause.

       A. First Amendment

       Plaintiff alleges that Defendants retaliated against him for the exercise of his First

Amendment rights. To demonstrate a retaliation claim under the First Amendment, Plaintiff must

show

               (1) that the plaintiff was engaged in constitutionally protected
               activity; (2) that the defendant’s actions caused the plaintiff to suffer
               an injury that would chill a person of ordinary firmness from
               continuing to engage in that activity; and (3) that the defendant’s
               adverse action was substantially motivated as a response to the
               plaintiff’s exercise of constitutionally protected conduct.

Shero v. City of Grove, 510 F.3d 1196, 1203 (10th Cir. 2007).

       Defendants argue only that Plaintiff was not engaged in constitutionally protected speech.

They do not address the other elements of a First Amendment retaliation claim. The Tenth Circuit

has recognized that “[a]n inmate does not have a First Amendment right to make violent, explicit,

or harassing statements.” Turner v. Falk, 632 Fed. Appx. 457, 460 (10th Cir. 2015). But there is a

dispute of fact as to whether Plaintiff’s speech was violent, explicit, harassing, or even backtalk as

Defendants claim. According to Plaintiff, he simply “expressed a concern about how a government

employee was performing his duties and treating a group of inmates.” Pl.’s Opp. at 23. Essentially,

Plaintiff maintains that he was submitting an informal grievance to a prison official. And the Tenth

Circuit has repeatedly recognized that filing a grievance constitutes protected speech under a

retaliation claim. See Johnson v. Whitney, 723 Fed. Appx. 587, 594 (10th Cir. 2018) (holding that


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the plaintiff’s “filing of a grievance qualifie[d] as protected activity under the first element [of a

First Amendment retaliation claim]”); Dawson v. Audet, 636 Fed. Appx. 753, 755 (10th Cir. 2016)

(“Prison officials may not retaliate against or harass an inmate because of the inmate’s exercise of

his constitutional rights. In particular, officials may not retaliate against prisoners for filing

administrative grievances.” (internal quotation marks omitted)); Fogle v. Pierson, 435 F.3d 1252,

1264 (10th Cir. 2006) (finding that if prison officials retaliated against the plaintiff based on his

filing of an administrative grievance, they may be liable for a constitutional rights violation.); Gee

v. Pacheco, 627 F.3d 1178, 1189 (10th Cir. 2010) (finding the plaintiff had adequately set forth the

first element of a First Amendment retaliation claim in which he alleged the defendants had

retaliated against him because he filed grievances against them).

       Further, a jury could find, from the evidence in the record, that Plaintiff was grieving how

the inmates in F-Block were being treated by Roberts. In his declaration, Plaintiff alleges that

Roberts had no reason to call the inmates to the tables. Plaintiff politely requested Roberts refrain

from speaking to the inmates in disrespectful tone. Roberts responded by charging Plaintiff with

disorderly conduct and reckless endangerment and placing him in solitary confinement. A jury

could find that the injury Plaintiff suffered, the charge and solitary confinement, would chill a

person of ordinary firmness from addressing a grievance in the future. And because these

consequences directly stemmed from the July 17 incident, a jury could also conclude that the

adverse action was substantially motivated by Plaintiff’s exercise of protected speech.

       Defendants argue that Plaintiff’s speech did not address a grievance. Rather, the speech

challenged Roberts’ authority. But this is a dispute of fact that must be left for the jury. Defendants

do not offer any argument regarding the second or third element of a First Amendment claim. Thus,



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the court DENIES Defendants’ motion with respect to Plaintiff’s First Amendment claim as

Defendants have failed to carry their burden to warrant summary judgment.

       B.      Eighth Amendment

       Next, the court turns to Plaintiff’s claim under the Eighth Amendment. Plaintiff argues that

Defendants violated his Eighth Amendment rights by failing to protect him from other inmates. In

his Amended Complaint, Plaintiff alleges that Roberts “asked Murphy if he was ok to go back to

F-block without informing Murphy of inmate Whipple’s threats against Murphy. Roberts knew

Whipple hated Murphy and that he blamed Murphy for retaliatory shake down resulting in

Whipple’s loss of his DVD player and write up.” ECF no. 15 (“Pl.’s Compl.”) at 4.

       To prove a claim under the Eighth Amendment, “an inmate must show that he was exposed

to an objective risk of serious harm and that prison officials subjectively acted with deliberate

indifference to inmate health or safety.” Valentine v. Collier, 141 S. Ct. 57, 60 (2020). A prison

official acts with deliberate indifference when he or she “knows of and disregards an excessive

risk to inmate health or safety.” Johnson v. Prentice, 144 S. Ct. 11, 14 (2023). Thus,

               proper application of the deliberate-indifference standard when
               evaluating a prison official’s motion for summary judgment requires
               consideration of two factbound factors: first, whether the []
               deprivation at issue posed a substantial risk to the prisoner’s health
               or safety, and second, whether prison officials ‘knowingly and
               unreasonably disregard[ed]’ that risk of harm.

Id. (quoting Farmer v. Brennan, 511 U.S. 825, 845-46 (1994)).

       Defendants argue that Plaintiff has not met either element to prove deliberate indifference.

First, they maintain that “[t]here is no evidence that Roberts’ decision to return Murphy to F-Block

posed a risk of him being assaulted . . .” ECF No. 75 (“Defs.’ Reply”) at 21. But the fact that

Plaintiff got into a fight with an inmate who was prone to aggression demonstrates that his return


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to F-Block did pose a high risk of harm. Further, when viewing the evidence in the light most

favorable to Plaintiff, a jury could find that Whipple’s threat to kill Plaintiff in and of itself posed

an objective, substantial risk of harm to Plaintiff’s safety. If Plaintiff had not been moved back to

F-Block, the confrontation between Whipple and Plaintiff would have never occurred. And even

if it is indisputable that Plaintiff threw the first punch in the surveillance video, this does not

preclude a jury finding that Roberts set Plaintiff up to be threatened by Whipple and put in a

situation in which a fight was bound to happen.

        Second, Defendants argue that “there is no evidence that Roberts recognized Murphy faced

a substantial risk of serious harm in being placed back into F-Block.” Id. The court disagrees.

Given the evidence offered by Plaintiff, a jury could find that Roberts knew of the high risk of

confrontation between Whipple and Plaintiff after the DVD incident. Whipple was known to have

a temper. In his declaration, Plaintiff alleges that, although he had not previously had any issues

with Whipple, Whipple had “a temper and everyone knew he sometimes got into arguments with

other inmates.” Murphy Decl ¶ 28. Further, multiple witnesses reported that Whipple had been

threatening to harm Plaintiff ever since the search in F-Block. If everyone knew this, it is likely

Roberts knew this as well. From the evidence in the record, including Plaintiff’s declaration and

reports of the incident, a reasonable juror could infer that Roberts knew of a significant risk of

harm posed by Plaintiff’s return to F-Block. Thus, a jury could find that in allowing Plaintiff to

return to F-Block, knowing the situation and Whipple’s disposition, Roberts was deliberately

indifferent to a substantial risk of harm to Plaintiff.

        Plaintiff has demonstrated a dispute of fact regarding the objective risk of harm posed to

him in returning to F-Block as well as Roberts’ subjective knowledge of that risk. The court thus



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DENIES Defendants’ motion for summary judgment with respect to Plaintiff’s Eighth Amendment

claim.

         C.     Due Process Clause

         Defendants next argue that they did not violate Plaintiff’s due process rights during the

July 17 incident or the July 25 incident. The court addresses each of these incidents and concludes,

as a matter of law, Plaintiff’s due process rights were not violated when Defendants moved him to

H-Block. But there remains a dispute of fact as to whether Plaintiff’s rights were violated during

his disciplinary hearing following the July 25 incident. The court addresses each incident below.

                1) July 17, 2019 Incident

         Defendants also argue that Plaintiff’s due process rights were not violated in the July 17

incident because he had no constitutionally-protected liberty or property interest in remaining in

general population. Defs.’ Mot. at 19. “[W]hile prisoners do not generally have a liberty interest

in particular classifications and housing assignments, a state-created liberty interest could arise

from prison regulations that either extend the duration of confinement or impose ‘atypical and

significant hardship on the inmate in relation to the ordinary incidents of prison life.’” Vue v.

Dowling, 2023 U.S. App. LEXIS 8720, at *6 (10th Cir. 2023) (quoting Sandin v. Conner, 515 U.S.

472, 484 (1995)). The Tenth Circuit has articulated four relevant, nondispositive factors to

determine whether conditions of confinement give rise to a state-created liberty interest: “whether

(1) the segregation relates to and furthers a legitimate penological interest, such as safety or

rehabilitation; (2) the conditions of placement are extreme; (3) the placement increases the duration

of confinement; and (4) the placement is indeterminate.” Estate of DiMarco v. Wyo. Dep’t of

Corr., 473 F.3d 1334, 1342 (10th Cir. 2007).



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        Defendants argue that there is no dispute of fact Plaintiff’s conditions in H-Block did not

present atypical or significant hardship because the confinement served a disciplinary interest, and

his segregation did not add to the time of confinement. The court agrees the segregation did not

add to the time of confinement. And, although Defendant does not address the fourth factor, it also

indisputably weighs in favor of finding no liberty interest because Plaintiff’s confinement only

lasted three days. But in viewing the record in the light most favorable to Plaintiff, a jury may

conclude that confinement in H-Block served no penological interest; rather, it served a retaliatory

purpose, increasing tension between Plaintiff and his fellow inmates in response to Plaintiff’s

exercise of free speech.

        Still, even if Plaintiff’s move to H-Block served no legitimate penological interest, there is

simply no evidence in the record from which the trier of fact could conclude Plaintiff’s segregation

posed an atypical or significant hardship. The only facts Plaintiff offers to show his conditions

were extreme is that he was in “solitary confinement” with “no company, and minimal time outside

his cell.” Pl.’s Opp. at 27. As a matter of law, the fact that an inmate is put in solitary is not enough

to support those conditions of confinement are extreme. See Grisson v. Roberts, 902 F.3d 1162,

1170 (10th Cir. 2018) (finding that the plaintiff did not have a liberty interest in being released

from solitary confinement); see also Stallings v. Werholtz, Fed. Appx. 841, 845 (10th Cir. 2012)

(“We do not find these conditions [in solitary] to be extreme. Because the conditions [the plaintiff]

describes are substantially similar to conditions experienced in any solitary confinement setting,

this factor weighs against finding a liberty interest.”). And nothing in the record indicates that the

conditions in H-Block were anything but “substantially similar to conditions experienced in any

solitary confinement setting.” Rezaq v. Nalley, 677 F.3d 1001, 1015 (10th Cir. 2012). Thus, the

second factor also weighs against finding a liberty interest.
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        Even if Plaintiff’s move to H-Block served no penological interest, the sum total of the

evidence cannot support a finding that the conditions in H-Block presented Plaintiff with an

atypical or significant hardship. Therefore, the court GRANTS Defendants’ motion for summary

judgment with respect to Plaintiff’s due process claim relating to his confinement in H-Block.

                2) July 25, 2019 Incident

        The court next turns to Plaintiff’s due process claim relating to the July 25 incident.

Plaintiff argues that his due process rights were violated during the Jail’s disciplinary hearing

process because Defendants failed to provide him with an impartial hearing officer. Defendants

respond that Plaintiff’s due process rights were not violated because “he received notice, a hearing

and an appeal prior to being disciplined . . .” Defs.’ Mot. at 4. Further, Defendants argue that

Roberts was necessarily impartial because he was trained in how to avoid conflicts of interest. See

id. at 26. They also contend that “the fact that Roberts had previously written-up Murphy on a

prior unrelated minor disciplinary matter played no role, either directly or indirectly, in Roberts

having found Murphy guilty of fighting.” Id. at 27. But a jury could find otherwise.

        The facts taken in the light most favorable to Plaintiff paint a picture of a correctional

officer who retaliated against an inmate for protected speech. That retaliation included confining

the inmate to H-Block for three days and then willfully encouraging another inmate with known

anger issues to start a fight with Plaintiff. Plaintiff has also offered evidence demonstrating Roberts

may have been a biased decisionmaker in the disciplinary hearing. Roberts was involved in the

July 17 incident as well as Whipple’s disciplinary infraction that started the fight. In making all

reasonable inferences in favor of Plaintiff, a jury could find that Roberts knowingly created the

situation that led to Plaintiff’s disciplinary infraction. If a jury finds this is true, Roberts could not

have been an unbiased decisionmaker, thereby violating Plaintiff’s right to due process. Therefore,
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the court DENIES Defendants’ motion for summary judgment with respect to Plaintiff’s due

process claim relating to the disciplinary hearing he received following the fight with Whipple.

       D.      Confrontation Clause

       Finally, Defendants move for summary judgment on Plaintiff’s confrontation clause claim,

arguing that Plaintiff was not entitled to call Attorney General Sean Reyes or Dr. Kyle Hancock

as witnesses in his disciplinary hearing. Indeed, “[t]he scope of a prisoner’s right to call and

confront witnesses is committed to the sound discretion of prison officials. Officials may deny this

right if they are convinced its exercise would threaten legitimate penological interests.” Ramer v.

Kerby, 936 F.2d 1102, 1104 (10th Cir. 1991). Roberts denied Plaintiff’s request to call these

witnesses because

               (a) neither of these witnesses had any relevant testimony to offer
               since they had no knowledge of the circumstances of the fight
               between Murphy and inmate Whipple; (b) [he] had no way to
               compel their attendance at the hearing; (c) Murphy’s claim that he
               acted in self-defense was not relevant to the charge of having
               engaged in a fight with inmate Whipple since it was a mutual combat
               situation; and (d) the videotape clearly showed that Murphy had
               been the aggressor insofar as he had attacked inmate Whipple.

Roberts Decl. ¶ 39. The fact that Roberts denied Plaintiff’s request to call these witnesses because

(1) they would not have provided relevant testimony and (2) Roberts had no way to compel their

attendance serves a legitimate penological interest—efficiency and order in the prison disciplinary

process. And Plaintiff has not offered any evidence or argument to show that Roberts’ denial did

not serve such an interest. Therefore, the court GRANTS Defendants’ motion for summary

judgment on Plaintiff’s confrontation clause claim.




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                              CONCLUSION AND ORDER

     For the foregoing reasons, Defendant’s motion for summary judgment is GRANTED IN

PART and DENIED IN PART:

     (1) The court DENIES Defendants’ motion for summary judgment with respect to

     Plaintiff’s First Amendment claim;

     (2) The court DENIES Defendants’ motion for summary judgment with respect to

     Plaintiff’s Eighth Amendment claim;

     (3) The court GRANTS IN PART and DENIES IN PART Defendants’ motion for summary

     judgment with respect to Plaintiff’s Due Process Clause claim. The court finds there is no

     dispute of fact that Defendants did not violate Plaintiff’s due process rights for confining

     him to H-Block but there are triable issues of fact regarding whether Defendants violated

     due process by failing to provide Plaintiff with an impartial decisionmaker in his

     disciplinary hearing.

     (4) The court GRANTS Defendants’ motion for summary judgment with respect to

     Plaintiff’s Equal Protection Clause claim;

     (5) The court GRANTS Defendants’ motion for summary judgment with respect to

     Plaintiff’s Confrontation Clause claim.

            DATED March 24, 2025

                                           BY THE COURT


                                           ______________________________
                                           Jill N. Parrish
                                           United States District Court Judge




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